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                                                         Exhibit A to the Complaint
Location: Jersey City, NJ                                                                                IP Address: 73.215.162.211
Total Works Infringed: 29                                                                                ISP: Comcast Cable
 Work      Hashes                                                               UTC              Site           Published     Registered   Registration
 1         Info Hash: 74793E870EE1D5183B35935E3F7AF354B3A44407                          10-24-   Vixen          04-29-2022    05-20-2022   PA0002350386
           File Hash:                                                                     2022
           5EDC78CC1B640B202D237A31B490B30092384C76DD1CFD68DF02B0A41A4C47DA           23:50:33
 2         Info Hash: A596EB14ED6C28A544B780E23FDA20230DEC937A                          10-18-   Blacked        06-25-2022    07-22-2022   PA0002359471
           File Hash:                                                                     2022
           53C753C0F8B9697F31F043986735D0058591A67E625073572A5204F24C4C9FED           16:42:36
 3         Info Hash: 88DEE49E165E812CD294E8008E656412E3CE4605                          10-17-   Blacked        09-11-2022    10-05-2022   PA0002373951
           File Hash:                                                                     2022   Raw
           010047D1F2C49A234E525CB4CA67E2A3B80915F8B3108E274CF6C7160FC6339B           20:01:15
 4         Info Hash: 693F697CBF4431F197EE5A223C18662D6E98B78D                          09-28-   Tushy          09-25-2022    10-05-2022   PA0002373771
           File Hash:                                                                     2022
           4AAB5FC3E48AB1A75F859A380C6A1EFD4FFFB955212465901906FD2DD4E14789           18:08:53
 5         Info Hash: 3B6D0A5603E4D7CA4C24B6AAB2A0A40FA3A3F3C0                          09-27-   Blacked        02-05-2022    02-14-2022   PA0002335503
           File Hash:                                                                     2022
           179B345EE04BFEC60986CCAA46F27280122E7CA87F7B22863E0E7C41DBAA3C14           21:40:35
 6         Info Hash: 12B7A3C14B3A7A4A9D2712008FA31DEE6CC1731E                          09-11-   Blacked        10-24-2019    11-05-2019   PA0002210293
           File Hash:                                                                     2022   Raw
           7560E11AD69B8634C114F0797C32BB5263371F69533CBDCE3F9E6DE3652ABC09           22:53:52
 7         Info Hash: BEA12C39DF9C1CB6295BF451345FC7AFE5EDBB50                          09-06-   Vixen          03-10-2018    04-17-2018   PA0002116743
           File Hash:                                                                     2022
           74BFE94A22A1AE503CFC1932F5AD24D246D29B424A39F00629A536CC93B83BAF           03:51:39
 8         Info Hash: 922634E7CFB428C3A8228E645582A62731EC0260                          08-29-   Vixen          02-11-2022    02-14-2022   PA0002335457
           File Hash:                                                                     2022
           CE522B18B342B88BE7BD722D82CE0FE16AD188FBEE4A22D8770976E5572527BE           16:24:03
 9         Info Hash: B4A963875B8F63EEFB739E00A7EE7D864B9C1493                          08-28-   Vixen          01-09-2019    02-02-2019   PA0002155377
           File Hash:                                                                     2022
           7A8B6EC17E28B5D746DA7A9FBE250FBDF19C66208B629A74D4C9B4DB746BC690           00:12:22
 10        Info Hash: F6CE08796E7200EA0845FF9313369CF337C207BF                          08-28-   Vixen          07-28-2018    09-01-2018   PA0002119572
           File Hash:                                                                     2022
           80D1AB32037DC972993DC1D67A3951382310EECA7BBD9430350DB3E17A8B8DC3           00:05:46
 11        Info Hash: 63416FBECE88046452134555765F068A164AE51D                          08-27-   Blacked        04-16-2022    04-23-2022   PA0002346424
           File Hash:                                                                     2022
           FB4CABEEEB4EA49D9FD7E248E3647721AD32B89F7854B3ED4801D4F66A2AA262           22:21:59
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
12     Info Hash: CF3583F6B0B2250A1872F1DA2E87E0AA842804B6                   08-27-   Tushy     10-10-2021   12-03-2021   PA0002333661
       File Hash:                                                              2022
       62DCCD2085DE22C6B4AD595CD8A33845EE1A73F4BF0C1E13FC586AEC40E49E1F    20:55:40
13     Info Hash: BC8EE00DFDED18BD2ACCBF9E632FC72794E06557                   01-13-   Tushy     01-02-2022   01-17-2022   PA0002330092
       File Hash:                                                              2022
       DE0DF26F77B9FFABE39EF99E8E615B814A2D51A9C26F81B765C8B65EE3340797    08:37:53
14     Info Hash: 0EA70C4136D3ED3CC3474160F6A54DA00DA9B732                   12-11-   Vixen     11-12-2021   12-09-2021   PA0002325810
       File Hash:                                                              2021
       5F1E4B5ABBFC4A0B2DD7F46C6414E6B062EDE9E7ECD07E28F56F480D37FB20A6    13:09:10
15     Info Hash: DC1EF5295EC3C8EE8527AB35D282F168A90EB8ED                   11-10-   Tushy     11-07-2021   11-11-2021   PA0002321317
       File Hash:                                                              2021
       5831A5DBC9EC96564D1A78686E5A2B259B7E01301161AB2375982B3AD22F2BFB    19:44:34
16     Info Hash: 5F169DAE4E85879AAE8FCBCF527EA0630D1497EE                   11-03-   Vixen     03-27-2020   04-17-2020   PA0002246166
       File Hash:                                                              2021
       10DE94DB967780AACC7C86F50C57A7BCC6D10E867AE683245438A51A185E27D2    05:22:07
17     Info Hash: 11317BD69D7E2FE51E3BDDC1C53B65643242CB9C                   10-22-   Blacked   09-28-2020   10-22-2020   PA0002261800
       File Hash:                                                              2021   Raw
       F63C87FC2DE9AF3AE5B0803EA75F2ECD3EE51ACC21B0A12F11F155DB8E891C77    17:08:16
18     Info Hash: 4D050B921ABD1BCB699D05BD3493149F8E7BB210                   10-22-   Tushy     12-27-2020   01-05-2021   PA0002269957
       File Hash:                                                              2021
       7DFD5CA2BB2007F1362E48819AB4B61F5F42BC4F0C77DE1B458517DBDB51CDC1    03:35:34
19     Info Hash: 4CE0AE35C1227D3C626CAB88BF26E15C024E4C59                   10-21-   Tushy     10-17-2021   11-11-2021   PA0002321294
       File Hash:                                                              2021
       A540DA9A9D0B22A592246AE221A5A34F320CD5BCB8B30E1CFF6AD1C2106502DF    15:01:38
20     Info Hash: B0E5916DDA0894DBA9F4D5DF96340FFF086ABF07                   09-30-   Vixen     01-29-2021   02-26-2021   PA0002283702
       File Hash:                                                              2021
       F6495E1085B69EAF1AB4D54066963D3B64639435D63BDAD59D02AD76F1AACBFF    10:35:02
21     Info Hash: 04D1E15B09618A4312212EDD4AA7534ABB8DCF96                   09-30-   Tushy     09-26-2021   10-19-2021   PA0002317053
       File Hash:                                                              2021
       C18729AA5F0F5446CCAD18A988F9F132B09792B82BA160F2600CCEC2F668B675    08:21:48
22     Info Hash: 343469C81E554999AA138B4E8CF3EF6ED54D4389                   09-30-   Blacked   09-25-2021   10-05-2021   PA0002315288
       File Hash:                                                              2021
       4571AC943DDA6169990985020A86CDD327E998F1CA7DC94CE1742C508289DDF3    07:22:12
23     Info Hash: F6ABB3EC57F6F61E302E4DB9222EA5CB0EEDBE44                   09-24-   Tushy     09-13-2021   10-05-2021   PA0002315290
       File Hash:                                                              2021
       8BA6CA2A2423FDE7D4B7D075850BA1748A5CBE939DC7B56A5C348F2115327E69    06:28:34
                       Case 2:22-cv-07302-SDW-CLW Document 1-1 Filed 12/15/22 Page 3 of 3 PageID: 15

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
24     Info Hash: 95CE8FC9995512C1376E50826F5B4E44B0E5D8AD                   09-23-   Blacked   09-13-2021   10-05-2021   PA0002315289
       File Hash:                                                              2021
       31DF0005E5E991AE9D3F6056712C424E8D3AC8BC44E29DA31AC3C255F2F7E712    16:51:54
25     Info Hash: 660A12EC87539227779AFE34C961560331CF4636                   09-23-   Tushy     09-19-2021   10-19-2021   PA0002317058
       File Hash:                                                              2021
       5EC158177271D07B26A4F7389FFA806DB9FC4CD0CE05E469D542C7430D0778BC    08:09:49
26     Info Hash: 8B102C939A536F0A04F59A3E981AFB88B91C373C                   09-21-   Vixen     09-13-2021   09-30-2021   PA0002319739
       File Hash:                                                              2021
       F5C02467987C0038A211F96199064EDC9453F28BC989F0D5F6276B4C807F4D1B    17:44:49
27     Info Hash: 815221A9038E449E44DF773A5E20B0787600FE48                   09-21-   Blacked   09-13-2021   11-11-2021   PA0002321292
       File Hash:                                                              2021   Raw
       12D5DC22D527E069A7F081060B804D0E5B7858303156C691C1BDFBC107D9DC83    13:07:02
28     Info Hash: B3E42C84C48B8BEBEAC209531FF7F9AD54593F7F                   09-08-   Blacked   09-04-2021   09-21-2021   PA0002312679
       File Hash:                                                              2021
       673065A1DFFD464A5047C0181D534DC453ECF0026CC047D8DF60DD5354DF7DED    22:49:40
29     Info Hash: A415A6857FC17645C0DD4F459251809AE42AF562                   09-04-   Vixen     08-27-2021   09-30-2021   PA0002319735
       File Hash:                                                              2021
       BCB5233B1D65A9B1514D1C32F7A765BBEFEE0FAB7DA467BC9573F47FE7EC1955    18:20:09
